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                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION

In re:
                                                          Case No.: 3:16-bk-02230-PMG
RMS TITANIC, INC., et al.,
                                                          Chapter 11
                   1
      Debtors.
________________________________/                         (Jointly Administered)

                           NOTICE OF ISSUANCE OF SUBPOENA

         The Official Committee of Equity Security Holders of Premier Exhibitions, Inc., Chapter

11 Debtor in Case No. 3:16-bk-02232-PMG and the parent company of RMS Titanic, Inc., the

Chapter 11 Debtor in Case No. 3:16-bk-02230-PMG, pursuant to Federal Rule of Civil

Procedure 45, hereby gives notice of the issuance of a Subpoena to Produce Documents in a

Bankruptcy Case (the "Subpoena") on February 8, 2017 to Barlan Enterprises, Ltd. A true and

correct copy of the Subpoena is attached to this Notice as Exhibit 1.

Dated: February 8, 2017                            LANDAU GOTTFRIED & BERGER LLP

                                                  By: /s/ Peter J. Gurfein
                                                       Peter J. Gurfein, Esq.
                                                       pgurfein@lgbfirm.com
                                                       Roye Zur, Esq.
                                                       rzur@lgbfirm.com
                                                       1801 Century Park East, Suite 700
                                                       Los Angeles, California 90067
                                                       (310) 557-0050
                                                       (310) 557-0056 (Facsimile)

                                                  -and-



1
  The Debtors in the chapter 11 cases, along with the last four digits of each Debtor's federal tax
identification number include: RMS Titanic, Inc. (3162); Premier Exhibitions, Inc. (4922); Premier
Exhibitions Management, LLC (3101); Arts and Exhibitions International, LLC (3101); Premier
Exhibitions International, LLC (5075); Premier Exhibitions NYC, Inc. (9246); Premier Merchandising,
LLC (3867); and Dinosaurs Unearthed Corp. (7309) (collectively, the "Debtors"). The Debtors' service
address is 3045 Kingston Court, Suite I, Peachtree Corners, Georgia 30071.


{40235535;1}
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                                                          AKERMAN LLP
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                                                          50 North Laura Street, Suite 3100
                                                          Jacksonville, FL 32202
                                                          Telephone: (904) 798-3700
                                                          Facsimile: (904) 798-3730

                                                      Attorneys for the Official Committee of Equity
                                                      Security Holders of Premier Exhibitions, Inc.


                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on February 8, 2017, the foregoing was transmitted to the
Court for uploading to the Case Management/Electronic Case Files ("CM/ECF") System, which
will send a notice of electronic filing to all creditors and parties in interest who have consented to
receiving electronic notifications in this case. In accordance with the Court's Order Granting
Debtors' Motion for an Order Pursuant to 11 U.S.C. § 105(a) and Rule 2002 Establishing Notice
Procedures (Doc. 140), a copy of the foregoing was also furnished on February 8, 2017 by U.S.
mail, postage prepaid and properly addressed, to the Master Service List attached hereto.

                                                        /s/ Peter J. Gurfein
                                                        Attorney




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                               CERTIFICATE OF SERVICE

David W. Baddley, Esq.                       Jay B. Verona, Esq.
U.S. Securities and Exchange Commission      Shumaker, Loop & Kendrick, LLP
Office of Reorganization                     101 E. Kennedy Blvd., Suite 2800
950 E. Paces Ferry Road, NE, Suite 900       Tampa, FL 33602
Atlanta GA 30326                             (813) 229-7600
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atlreorg@sec.gov                             Attorneys for George F. Eyde
Attorneys for U.S. Securities and Exchange   Orlando, LLC and Louis J. Eyde
Commission                                   Orlando, LLC

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400 W. Washington Street, Suite 1100         Fort Lauderdale, FL 33301
Orlando FL 32801                             (954) 768-5212
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Attorneys for Guy G. Gebhardt,               Jihe Zhang, and High Nature Holdings
Acting U.S. Trustee for Region 21            Limited

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Jacksonville, FL 32202                       Civil Recoveries Bureau, Bankruptcy Litigation Unit
(904) 232-7200                               The Capitol
esummers@burr.com                            Albany, NY 12224-0341
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                                             Attorneys for New York Dept. of Taxation
                                             and Finance

D. Marcus Braswell, Jr., Esq.                Chris Broussard, Esq.
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Unsecured Creditors                      Attorneys for Official Committee of
                                         Unsecured Creditors

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Lane Powell PC                           Brenner Kaprosy Mitchell, L.L.P.
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Portland, OR 97204                       Pepper Pike, OH 44124
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Attorneys for Oregon Museum of Science
and Industry
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945 McKinney Street, PMB 434
Houston, TX 77002
(713) 984-4801
howard@eucinv.com
Attorney for Euclid Investments, LP
And Euclid Claims Recovery LLC

Via U.S. Mail

A-1 Storage and Crane                    ABC Imaging
2482 197th Avenue                        1155 21st Street NW
Manchester, IA 52057                     Suite M400
                                         Washington, DC 20036

A.N. Deringer, Inc.                      ATS, Inc.
PO Box 11349                             1900 W. Anaheim Street
Succursale Centre-Ville                  Long Beach, CA 90813
Montreal, QC H3C 5H1

Broadway Video                           CBS Outdoor/Outfront Media
30 Rockefeller Plaza                     185 US Highway 48
54th Floor                               Fairfield, NJ 07004
New York, NY 10112




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Dentons Canada LLP                    Enterprise Rent-A-Car Canada
250 Howe Street                       709 Miner Avenue
20th Floor                            Scarborough, ON M1B 6B6
Vancouver, BC V6C 3R8

Expedia, Inc.                         George Young Company
10190 Covington Cross Drive           509 Heron Drive
Las Vegas, NV 89144                   Swedesboro, NJ 08085

Gowlings                              Hoffen Global Ltd.
550 Burrard Street                    305 Crosstree Lane
Suite 2300, Bental 5                  Atlanta, GA 30328
Vancouver, BC V6C 2B5

Kirvin Doak Communications            MNP LLP
5230 W. Patrick Lane                  15303 - 31st Avenue
Las Vegas, NV 89118                   Suite 301
                                      Surrey, BC V3Z 6X2

Morris Visitor Publications           NASDAQ Stock Market, LLC
PO Box 1584                           805 King Farm Blvd.
Augusta, GA 30903                     Rockville, MD 20850

National Geographic Society           NYC Dept. of Finance
1145 - 17th Avenue NW                 PO Box 3646
Washington, DC 20036                  New York, NY 10008

PacBridge Limited Partners            Pallet Rack Surplus, Inc.
22/F Fung House                       1981 Old Covington Cross Road NE
19-20 Connaught Road                  Conyers, GA 30013
Central Hong Kong

Ramparts, Inc.                        Screen Actors Guild
d/b/a Luxor Hotel and Casino          1900 Broadway
3900 Las Vegas Blvd. South            5th Floor
Las Vegas, NV 89119                   New York, NY 10023

Seaventures, Ltd.                     Sophrintendenza Archeologica
5603 Oxford Moor Blvd.                di Napoli e Pompei
Windemere, FL 34786                   Piazza Museo 19
                                      Naples, Italy 80135




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Syzygy3, Inc.                                  Time Out New York
1350 6th Avenue                                405 Park Avenue
2nd Floor                                      New York, NY 10022
New York, NY 10019

TPL                                            TSX Operating Co.
3340 Peachtree Road                            70 West 40th Street
Suite 2140                                     9th Floor
Atlanta, GA 30326                              New York, NY 10018

Verifone, Inc.                                 Samuel Weiser
300 S. Park Place Blvd.                        565 Willow Road
Clearwater, FL 33759                           Winnetka, IL 60093

WNBC - NBC Universal Media                     United States Attorney’s Office
30 Rockefeller Center                          Middle District of Florida
New York, NY 10112                             300 N. Hogan Street, Suite 700
                                               Jacksonville, FL 32202

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Gowling WLG (Canada) LLP                       Bankruptcy Administration
550 Burrard Street, Suite 2300, Bentall 5      Wells Fargo Vendor Financial Services, LLC
Vancouver, BC V6C 2B5                          PO Box 13708
                                               Macon, GA 31208

TSX Operating Co., LLC                         Dallian Hoffen Biotechnique Co., Ltd.
c/o James Sanna                                c/o Ezra B. Jones
70 W. 40th Street                              305 Crosstree Lane
New York, NY 10018                             Atlanta, GA 30328
Creditor Committee                             Creditor Committee

B.E. Capital Management Fund LP
Thomas Branziel
205 East 42nd Street , 14th Floor
New York, NY 10017
Creditor Committee




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B2570 (Form 2570 – Subpoena to Produce Documents, Information, or Objects or To Permit Inspection in a Bankruptcy Case or Adversary Proceeding) (Page 2)



                                                                PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any): ______________________________________________
on (date) __________ .

   I served the subpoena by delivering a copy to the named person as follows: ____________________________________
___________________________________________________________________________________________________
__________________________________ on (date) ___________________ ; or

   I returned the subpoena unexecuted because: ____________________________________________________________
___________________________________________________________________________________________________

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of $ _______________________ .

 My fees are $ _________ for travel and $_________ for services, for a total of $_________ .


          I declare under penalty of perjury that this information is true and correct.

Date: _______________
                                                                                  ________________________________________________
                                                                                                                Server’s signature

                                                                                  ________________________________________________
                                                                                                             Printed name and title


                                                                                  ________________________________________________
                                                                                                                 Server’s address


Additional information concerning attempted service, etc.:




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B2570 (Form 2570 – Subpoena to Produce Documents, Information, or Objects or To Permit Inspection in a Bankruptcy Case or Adversary Proceeding) (Page 3)


                            Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                        (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

(c) Place of compliance.                                                                      (ii) disclosing an unretained expert's opinion or information that does
                                                                                        not describe specific occurrences in dispute and results from the expert's
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                           (C) Specifying Conditions as an Alternative. In the circumstances
    (A) within 100 miles of where the person resides, is employed, or                   described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                              modifying a subpoena, order appearance or production under specified
    (B) within the state where the person resides, is employed, or regularly            conditions if the serving party:
transacts business in person, if the person                                                    (i) shows a substantial need for the testimony or material that cannot
      (i) is a party or a party’s officer; or                                           be otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial                      (ii) ensures that the subpoenaed person will be reasonably
expense.                                                                                compensated.

  (2) For Other Discovery. A subpoena may command:                                      (e) Duties in Responding to a Subpoena.
    (A) production of documents, or electronically stored information, or
things at a place within 100 miles of where the person resides, is employed,              (1) Producing Documents or Electronically Stored Information. These
or regularly transacts business in person; and                                          procedures apply to producing documents or electronically stored
    (B) inspection of premises, at the premises to be inspected.                        information:
                                                                                            (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.
                                                                                        documents must produce them as they are kept in the ordinary course of
                                                                                        business or must organize and label them to correspond to the categories in
      (1) Avoiding Undue Burden or Expense; Sanctions. A party or
                                                                                        the demand.
attorney responsible for issuing and serving a subpoena must take
                                                                                            (B) Form for Producing Electronically Stored Information Not
reasonable steps to avoid imposing undue burden or expense on a person
                                                                                        Specified. If a subpoena does not specify a form for producing
subject to the subpoena. The court for the district where compliance is
                                                                                        electronically stored information, the person responding must produce it in
required must enforce this duty and impose an appropriate sanction —
                                                                                        a form or forms in which it is ordinarily maintained or in a reasonably
which may include lost earnings and reasonable attorney's fees — on a
                                                                                        usable form or forms.
party or attorney who fails to comply.
                                                                                            (C) Electronically Stored Information Produced in Only One Form. The
                                                                                        person responding need not produce the same electronically stored
  (2) Command to Produce Materials or Permit Inspection.
                                                                                        information in more than one form.
    (A) Appearance Not Required. A person commanded to produce
                                                                                            (D) Inaccessible Electronically Stored Information. The person
documents, electronically stored information, or tangible things, or to
                                                                                        responding need not provide discovery of electronically stored information
permit the inspection of premises, need not appear in person at the place of
                                                                                        from sources that the person identifies as not reasonably accessible because
production or inspection unless also commanded to appear for a deposition,
                                                                                        of undue burden or cost. On motion to compel discovery or for a protective
hearing, or trial.
                                                                                        order, the person responding must show that the information is not
    (B) Objections. A person commanded to produce documents or tangible
                                                                                        reasonably accessible because of undue burden or cost. If that showing is
things or to permit inspection may serve on the party or attorney designated
                                                                                        made, the court may nonetheless order discovery from such sources if the
in the subpoena a written objection to inspecting, copying, testing or
                                                                                        requesting party shows good cause, considering the limitations of Rule
sampling any or all of the materials or to inspecting the premises — or to
                                                                                        26(b)(2)(C). The court may specify conditions for the discovery.
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
                                                                                           (2) Claiming Privilege or Protection.
compliance or 14 days after the subpoena is served. If an objection is made,
                                                                                             (A) Information Withheld. A person withholding subpoenaed
the following rules apply:
                                                                                        information under a claim that it is privileged or subject to protection as
      (i) At any time, on notice to the commanded person, the serving party
                                                                                        trial-preparation material must:
may move the court for the district where compliance is required for an
                                                                                               (i) expressly make the claim; and
order compelling production or inspection.
                                                                                               (ii) describe the nature of the withheld documents, communications,
      (ii) These acts may be required only as directed in the order, and the
                                                                                        or tangible things in a manner that, without revealing information itself
order must protect a person who is neither a party nor a party's officer from
                                                                                        privileged or protected, will enable the parties to assess the claim.
significant expense resulting from compliance.
                                                                                             (B) Information Produced. If information produced in response to a
                                                                                        subpoena is subject to a claim of privilege or of protection as trial-
  (3) Quashing or Modifying a Subpoena.
                                                                                        preparation material, the person making the claim may notify any party that
    (A) When Required. On timely motion, the court for the district where
                                                                                        received the information of the claim and the basis for it. After being
compliance is required must quash or modify a subpoena that:
                                                                                        notified, a party must promptly return, sequester, or destroy the specified
      (i) fails to allow a reasonable time to comply;
                                                                                        information and any copies it has; must not use or disclose the information
      (ii) requires a person to comply beyond the geographical limits
                                                                                        until the claim is resolved; must take reasonable steps to retrieve the
specified in Rule 45(c);
                                                                                        information if the party disclosed it before being notified; and may
      (iii) requires disclosure of privileged or other protected matter, if no
                                                                                        promptly present the information under seal to the court for the district
exception or waiver applies; or
                                                                                        where compliance is required for a determination of the claim. The person
      (iv) subjects a person to undue burden.
                                                                                        who produced the information must preserve the information until the claim
    (B) When Permitted. To protect a person subject to or affected by a
                                                                                        is resolved.
subpoena, the court for the district where compliance is required may, on
                                                                                        …
motion, quash or modify the subpoena if it requires:
                                                                                        (g) Contempt. The court for the district where compliance is required – and
      (i) disclosing a trade secret or other confidential research,
                                                                                        also, after a motion is transferred, the issuing court – may hold in contempt
development, or commercial information; or
                                                                                        a person who, having been served, fails without adequate excuse to obey
                                                                                        the subpoena or an order related to it.


                                          For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)



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              SCHEDULE A



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                                           SCHEDULE A



                                           DEFINITIONS

         1.      “Premier” refers to Premier Exhibitions, Inc., its affiliates, subsidiaries, officers,

directors, executives, employees, agents, independent contractors, representatives, attorneys,

consultants, and any other person and/or entity acting or purporting to act on behalf of or under

the control of Premier Exhibitions, Inc.

         2.      “Guernsey’s” refers to Guernsey’s, a Division of Barlan Enterprises, Ltd., and its

affiliates, subsidiaries, general or limited partners, officers, directors, executives, employees,

agents, independent contractors, representatives, attorneys, consultants, and any other person

and/or entity acting or purporting to act on behalf of or under the control of Guernsey’s, a

Division of Barlan Enterprises, Ltd.

         3.      “RMST” refers to RMS Titanic, Inc., its affiliates, subsidiaries, officers,

directors, executives, employees, agents, independent contractors, representatives, attorneys,

consultants, and any other person and/or entity acting or purporting to act on behalf of or under

the control of RMS Titanic, Inc.

         4.      “Property” refers to the collection of artifacts, including each individual artifact

and any sub-set of the entire artifact collection, recovered from the RMS Titanic and the debris

found adjacent to the RMS Titanic, along with all records of recovery, photographs, video

recordings, related intellectual property, and RMST’s rights as Salvor-in-Possession of the RMS

Titanic.

         5.      “Guernsey’s Solicitation” refers to the solicitation evidenced by the Opportunity

Overview, dated January 2012, under which Guernsey’s solicited potential purchasers of the



{40096030;3}




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Property pursuant to that certain Consignment Agreement between Premier, RMST, and

Guernsey’s dated December 20, 2011.

         6.      “Communication” shall mean every manner or means of disclosure, transfer or

exchange of information, and any oral or written utterance, notation or statement of any nature

whatsoever, by or to whomsoever made, including but not limited to correspondence,

conversations, dialogues, discussions, interviews, consultations, agreements, and other

understandings between or among two or more persons, whether in person, by telephone, mail,

personal delivery or otherwise.

         7.      The term “document” shall have the broadest meaning ascribed to it by Rule

34(a) of the Federal Rules of Civil Procedure and Rule 7034 of the Federal Rules of Bankruptcy

Procedure and means any writing of any kind, including originals and all non-identical copies

(whether different from the original by reason of any notation made on such copies or

otherwise).     This shall include, without limitation, the following items, whether printed or

reproduced by any process, or written or produced by hand or stored in computer memory,

magnetic or hard disk or other data storage medium, and whether or not claimed to be privileged,

confidential or otherwise excludable from discovery, namely, notes, letters, correspondence,

communications, e-mails, telegrams, memoranda, summaries or records of telephone

conversations, summaries or records of personal conversations or meetings, diaries, reports,

photographs, video images, minutes or records of meetings, summaries of interviews, reports,

or investigations, opinions or reports of consultants, opinions of counsel, agreements, reports or

summaries of negotiations, press releases, drafts of documents, and all other material fixed in a

tangible medium of whatever kind known to you or in your possession, custody, or control.




{40096030;3}




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         8.      “Person” shall mean and include any natural person, individual, proprietorship,

association, limited liability company, joint venture, firm, partnership, corporation, estate, trust,

receiver, syndicate, municipal corporation, party and/or any other form of business enterprise or

legal entity, governmental body, group of natural persons or entity, including any employee or

agent thereof.

         9.      The words “pertain to” or “pertaining to” mean relates to, refers to, contains,

concerns, describes, embodies, mentions, constitutes, constituting, supports, corroborates,

demonstrates, proves, evidences, shows, refutes, disputes, rebuts, controverts or contradicts.

         10.     As used herein, the singular shall include the plural, the plural shall include the

singular, and the masculine, feminine, and neuter shall include each of the other genders.

         11.     The words “and” and “or” shall be construed either conjunctively or disjunctively

to bring within the scope of this Request for Production any information which might otherwise

be construed to be outside their scope.

                                          INSTRUCTIONS

         1.      In responding to these requests, you shall produce all responsive documents

which are in your possession, custody or control or in the past or present possession, custody or

control of your predecessors, successors, parents, subsidiaries, divisions, or affiliates, or any of

your respective directors, officers, managing agents, agents, employees, attorneys, accountants,

or other representatives. A document shall be deemed to be within your control if you have the

right to secure the document or a copy of the document from another person having possession

or custody of the document.

         2.      In responding to these requests, you shall produce all responsive documents

available at the time of production and you shall supplement your responses as required by Rule



{40096030;3}




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26(e) of the Federal Rules of Civil Procedure and Rule 7026 of the Federal Rules of Bankruptcy

Procedure.

         3.      Pursuant to the Federal Rules of Civil Procedure and Federal Rules of Bankruptcy

Procedure, you are to produce for inspection and copying, original documents as they are kept in

the usual course of business, or you shall organize and label them to correspond with the

categories in these requests.

         4.      If any document responsive to these requests is withheld under a claim of

privilege or upon any other ground, as to each such document, identify the privilege being

asserted and provide the following information in sufficient detail to permit the court to rule on

your claim:

         a.      the date, author, primary addressee and secondary addressees or persons copied,

and the relationship of those persons to the client and/or author of the document;

         b.      a brief description sufficient to identify the type, subject matter and purpose of the

document;

         c.      all persons to whom its contents have been disclosed; and

         d.      the party who is asserting the privilege.

         5.      If a portion of any document responsive to these requests is withheld under claim

of privilege pursuant to Instruction 4, any non-privileged portion of such document must be

produced with the portion claimed to be privileged redacted.

         6.      You are to produce each document requested herein in its entirety, without

deletion or excision (except as qualified by Instructions 4 and 5 above), regardless of whether

you consider the entire document to be relevant or responsive to the requests.




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         7.      The singular shall include the plural and the disjunctive shall include the

conjunctive, and vice versa, such that each document request calls for the production of the

greatest number of documents.

         8.      “All” shall include the term “each,” or “any,” and vice versa.



                                  DOCUMENTS REQUESTED

         1.      All documents pertaining to Guernsey’s Solicitation for an auction of RMST’s

Property issued by Guernsey’s in or about January 2012.

         2.      All documents pertaining to efforts by Guernsey’s to solicit a purchase of any of

RMST’s assets, including, but not limited to, the Property.

         3.      All documents pertaining to any proposal or offer to purchase the Property (or any

portion thereof) received by Guernsey’s from December 1, 2011, to January 1, 2014.

         4.      All documents pertaining to any inquiries, statements respecting the Property, or

responses to Guernsey’s Solicitation received by Guernsey’s from third parties from December

1, 2011, to January 1, 2014.

         5.      All communications between Premier and Guernsey’s pertaining to any inquiries,

statements respecting the Property, or responses to Guernsey’s Solicitation, including without

limitation proposals to purchase the Property received by Guernsey’s from December 1, 2011, to

January 1, 2014.

         6.      All communications between RMST and Guernsey’s pertaining to any inquiries,

statements respecting the Property, or responses to Guernsey’s Solicitation, including without

limitation proposals to purchase the Property received by Guernsey’s from December 1, 2011, to

January 1, 2014.



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          7.      All communications between Premier and third-parties pertaining to any inquiries,

statements respecting the Property, or responses to Guernsey’s Solicitation, including without

limitation proposals relating to proposals to purchase the Property received by Guernsey’s from

December 1, 2011, to January 1, 2014.

          8.      All communications between RMST and third-parties pertaining to any inquiries,

statements respecting the Property, or responses to Guernsey’s Solicitation, including without

limitation proposals to purchase the Property received by Guernsey’s from December 1, 2011, to

January 1, 2014.

          9.      All documents that reflect, mention, describe, or evidence a response from any

third party to Guernsey’s Solicitation.

          10.     All communications between RMST and Guernsey’s between December 1, 2011,

and the date of your response to this request (to the extent not covered by request nos. 1-9

above).

          11.     All communications between Premier and Guernsey’s between December 1,

2011, and the date of your response to this request (to the extent not covered by request nos. 1-9

above).




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